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 1   SHAUN KHOJAYAN (#197690)
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      & ASSOCIATES, P.L.C.
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 4   Los Angeles, CA 90071
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     Attorney for Defendant Haitham Habash
 7

 8                          IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                                Case No.: 15-CR-00286 AWI-BAM
11
                          Plaintiff,
12                                                            STIPULATION TO MODIFY
           v.                                                 CONDITIONS OF RELEASE FOR
13                                                            DEFENDANT HAITHAM HABASH;
     HAITHAM HABASH,                                          ORDER
14

15                        Defendant.

16

17
           Notice is hereby given that, subject to approval by the court, Haitham Habash
18

19   hereby stipulates, by and through his counsel Shaun Khojayan, and Assistant

20   United States Attorney, Karen Escobar that conditions of release be modified to
21
     allow Defendant Haitham Habash to:
22

23         1) The condition requiring the defendant to participate in the Location

24   Monitoring Program is removed;
25
           2) The condition requiring the defendant to participate in the HOME
26
27   DETENTION is removed;
28         3) Modify travel to include the Eastern District and Central District of
                                                              1.
                U.S. v Haitham Habash, Case #15-CR-0286-AWI        Stipulation to Modify Conditions of Release
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 1   California, unless otherwise preapproved by the Pretrial Services Office;
 2
           4) Continue to impose curfew condition that restricts defendant Habash to his
 3

 4   residence every day 9:00pm to 6:00am, or as adjusted by the Pretrial Services

 5   Office; and
 6
           5) retain all other conditions previously imposed, not in conflict, in full force
 7

 8   and effect.
 9         The AUSA and pretrial services officer have no objection to these
10
     modifications.
11

12   I consent to the above stipulation.
13   Date: 1/29/2018                                              /s/ Karen Escobar (with permission)
14                                                                AUSA Karen Escobar
15   I consent to the above stipulation.
16
     Date: 1/29/2018                                              /s/ Shaun Khojayan
17                                                                Shaun Khojayan
18
                                                      ORDER
19

20   DENIED without prejudice. With the removal of location monitoring, the curfew
21   condition cannot be enforced. The Court will not impose a condition that cannot be
22   enforced. Should the parties and Pretrial agree to removal of curfew, the Court will
23
     again consider the issue.
24
     IT IS SO ORDERED.
25

26      Dated:     January 30, 2018                                    /s/ Barbara A. McAuliffe               _
                                                            UNITED STATES MAGISTRATE JUDGE
27

28

                                                           2.
             U.S. v Haitham Habash, Case #15-CR-0286-AWI        Stipulation to Modify Conditions of Release
